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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT
____________________________________
                                         :
 Joseph Strauch and Timothy Colby,       :
 on behalf of themselves and all those   :
 similarly situated                      :     CIVIL NO.: 3:14-cv-956 (JBA)
                Plaintiffs,              :
v.                                       :
                                         :
Computer Sciences Corporation            :
                Defendant.               :     October 16, 2019
____________________________________:

                                      MOTION TO SEAL

       Pursuant to Local Rule of Civil Procedure 5(e), Defendant Computer Sciences Corporation

(“CSC”) respectfully moves to file under seal an unredacted version of Defendant’s Memorandum

of Law in Opposition to Plaintiffs’ Motion for Protective Order and to Submit Detailed Time and

Expense Records Under Seal (the “Opposition”). In support of this Motion, Defendant states as

follows:

       1. Defendant’s Opposition quotes portions of Plaintiffs’ Exhibit Q to Declaration of Jahan

            C. Sagafi, which was filed as a sealed document. Docket Entry No. 522.

       2. Defendant has provided a redacted public filing of the Opposition, while filing the full,

            unredacted Opposition under seal for the Court’s consideration in connection with this

            Motion.

       For the foregoing reasons, Defendant requests that this Motion be granted until such time

that the Court orders Plaintiffs’ Exhibit Q to Declaration of Jahan C. Sagafi, Docket Entry No.

522, unsealed.
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                                Respectfully submitted,
                                DEFENDANT,
                                COMPUTER SCIENCES CORPORATION


                                 By its attorneys,

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                                 CERTIFICATION OF SERVICE

                  I hereby certify that on October 16, 2019, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing

will be sent by e-mail to all parties by operation of the Court’s electronic filing system and by mail

to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties

may access this filing through the Court’s CM/ECF System.




                                       /s/ William J. Anthony
                                       William J. Anthony



4840-5911-8505, v. 1
